                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
IN RE:                                                         :
LISA A ARANA                                                   :    BK. No. 5:18-bk-01920-RNO
                                 Debtor                        :
                                                               :    Chapter No. 13
WELLS FARGO BANK, N.A.                                         :
                                 Movant                        :
                         v.                                    :
LISA A ARANA                                                   :
                                 Respondent                    :
                                                               :

       OBJECTION OF WELLS FARGO BANK, N.A. TO CONFIRMATION OF THE
                       DEBTOR’S CHAPTER 13 PLAN

        Movant, WELLS FARGO BANK, N.A. (hereinafter referred to as "Movant"), by its attorneys Phelan
Hallinan Diamond & Jones, LLP hereby objects to confirmation of the Debtor's Chapter 13 Plan as follows:
        1.      Movant is WELLS FARGO BANK, N.A.
        2.      Debtor, LISA A ARANA, is the owner of the property located at 620 LEISURE LANE,
POCONO SUMMIT, PA 18346.
        3.      On May 23, 2018, Movant filed Proof of Claim listing pre-petition arrears in the amount of
$1,937.06. A copy of the Proof of Claim is attached hereto as Exhibit "A" and made a part hereof.
        4.      Debtor's Plan fails to cure the delinquency pursuant to 11 U.S.C. §1322(b)(5).
        5.      Debtor's Plan currently provides for no payment to Movant. A copy of Debtor's Plan is
attached hereto as Exhibit "B" and made a part hereof.
        6.      Movant objects to Debtor's Plan as it is underfunded. Debtor's Plan should be amended to fully
fund the arrears owed to Movant. Confirmation of Debtor's proposed Plan should be denied.
        7.      Movant's Proof of Claim lists a post-petition payment in the amount of $741.64.


        WHEREFORE, WELLS FARGO BANK, N.A. respectfully requests that this Honorable Court deny
confirmation of the Debtor's Chapter 13 Plan.
                                                Respectfully Submitted,

                                                /s/ Mario J. Hanyon, Esquire
                                                Mario J. Hanyon, Esq., Id. No.203993
                                                Phelan Hallinan Diamond & Jones, LLP
                                                1617 JFK Boulevard, Suite 1400
                                                One Penn Center Plaza
                                                Philadelphia, PA 19103
                                                Phone Number: 215-563-7000 Ext 31340
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                                 Exhibit “B”




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                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: Arana, Lisa                            :      CHAPTER 13
                                              :
                                              :      CASE NO.
                                              :
                                              :        X ORIGINAL PLAN
                                              :      ___ AMENDED PLAN
                                              :      ___ Motions to Avoid Liens
                                              :      ___ Motions to Value Collateral

                                      CHAPTER 13 PLAN
                                            NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the
following items. If an item is checked as “Not Included” or if both boxes are checked or if
neither box is checked, the provision will be ineffective if set out later in the plan.
 1 The plan contains nonstandard provisions, set out in § 9,         Included       Not Included
   which are not included in the standard plan as approved
   by the U.S. Bankruptcy Court for the Middle District of
   Pennsylvania.
 2 The plan contains a limit on the amount of a secured              Included       Not Included
   claim, set out in § 2.E, which may result in a partial
   payment or no payment at all to the secured creditor.
 3 The plan avoids a judicial lien or nonpossessory,                 Included       Not Included
   nonpurchase-money security interest, set out in § 2.G.


                            YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a
timely written objection. This plan may be confirmed and become binding on you without
further notice or hearing unless a written objection is filed before the deadline stated on the
Notice issued in connection with the filing of the plan.
1.      PLAN FUNDING AND LENGTH OF PLAN.
       A. Plan Payments From Future Income
       1. To date, the Debtor paid $0.00 (enter $0 if no payments have been made to the
          Trustee to date). Debtor shall pay to the Trustee for the remaining term of the plan the
          following payments. If applicable, in addition to monthly plan payments, Debtor shall
          make conduit payments through the Trustee as set forth below. The total base plan is
          $6,000.00, plus other payments and property stated in § 1B below:




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 Start mm/yyyy End mm/yyyy         Plan           Estimated     Total           Total Over
                                   Payment        Conduit       Monthly         Plan Tier
                                                  Payment       Payment
 Month 1         Month 60          $100.00        0.00          $100.00         $6,000.00
 (06/2018)       (5/2023)
                                                                Total           $6,000.00
                                                                Payments:


      2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the
         Trustee that a different payment is due, the Trustee shall notify the Debtor and any
         attorney for the Debtor, in writing, to adjust the conduit payments and the plan
         funding. Debtor must pay all post-petition mortgage payments that come due before
         the initiation of conduit mortgage payments.

      3. Debtor shall ensure that any wage attachments are adjusted when necessary to
         conform to the terms of the plan.

      4. CHECK ONE:              Debtor is at or under median income. If this line is checked,
                            the rest of § 1.A.4 need not be completed or reproduced.

                                Debtor is over median income. Debtor calculates that a
                            minimum of $0.00 must be paid to allowed
                            unsecured creditors in order to comply with the Means Test.

      B. Additional Plan Funding From Liquidation of Assets/Other

             1. The Debtor estimates that the liquidation value of this estate is
                $____________. (Liquidation value is calculated as the value of all non-
                exempt assets after the deduction of valid liens and encumbrances and before
                the deduction of Trustee fees and priority claims.)

                 Check one of the following two lines.

                    No assets will be liquidated. If this line is checked, the rest of § 1.B need
                 not be completed or reproduced.

2.    SECURED CLAIMS.

      A. Pre-Confirmation Distributions. Check one.

         None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.

      B. Mortgages (Including Claims Secured by Debtor’s Principal Residence) and
      Other Direct Payments by Debtor. Check one.
          None. If “None” is checked, the rest of § 2.B need not be completed or reproduced.




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          Payments will be made by the Debtor directly to the creditor according to the original
      contract terms, and without modification of those terms unless otherwise agreed to by the
      contracting parties. All liens survive the plan if not avoided or paid in full under the plan.

       Name of Creditor                  Description of Collateral            Last Four Digits
                                                                              of Account
                                                                              Number
       WFHM                              Residential Dwelling                 0560
       Onemain                           Residential Dwelling                 3207
       GM Financial                      Hyndai Elentra                       2580

      C. Arrears (Including, but not limited to, claims secured by Debtor’s principal
      residence). Check one.

         None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.

      D. Other secured claims (conduit payments and claims for which a § 506 valuation
      is not applicable, etc.) Check one.

          None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.


      E. Secured claims for which a § 506 valuation is applicable. Check one.

         None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.


      F. Surrender of Collateral. Check one.

         None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.


      G. Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens.
      Check one.

         None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.

3.    PRIORITY CLAIMS.

      A. Administrative Claims

             1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate
             fixed by the United States Trustee.

             2. Attorney’s fees. Complete only one of the following options:




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                    a. In addition to the retainer of $1,200.00 already paid by the Debtor, the
                    amount of $2,800.00 in the plan ($2,800.00 remaining attorney fee plus
                    $0.00 for reimbursement of expenses). This represents the unpaid
                    balance of the presumptively reasonable fee specified in L.B.R. 2016-2(c);
                    or

                    b. $_____________ per hour, with the hourly rate to be adjusted in
                    accordance with the terms of the written fee agreement between the
                    Debtor and the attorney. Payment of such lodestar compensation shall
                    require a separate fee application with the compensation approved by the
                    Court pursuant to L.B.R. 2016-2(b).

             3. Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above.
             Check one of the following two lines.

                 None. If “None” is checked, the rest of § 3.A.3 need not be completed or
             reproduced.

             B. Priority Claims (including, but not limited to, Domestic Support
             Obligations other than those treated in § 3.C below). Check one of the
             following two lines.

                 None. If “None” is checked, the rest of § 3.B need not be completed or
             reproduced.

             C. Domestic Support Obligations assigned to or owed to a governmental unit
             under 11 U.S.C. §507(a)(1)(B). Check one of the following two lines.

              None. If “None” is checked, the rest of § 3.C need not be completed or
          reproduced.
4.    UNSECURED CLAIMS

      A. Claims of Unsecured Nonpriority Creditors Specially Classified. Check one of the
      following two lines.

         None. If “None” is checked, the rest of § 4.A need not be completed or reproduced.


5.     EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the
following two lines.

         None. If “None” is checked, the rest of § 5 need not be completed or reproduced.


6.    VESTING OF PROPERTY OF THE ESTATE.




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        Property of the estate will vest in the Debtor upon

        Check the applicable line:

            plan confirmation.
            entry of discharge.
            closing of case.

7.      DISCHARGE: (Check one)

            The debtor will seek a discharge pursuant to § 1328(a).
            The debtor is not eligible for a discharge because the debtor has previously received a
        discharge described in § 1328(f).

8.      ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date,
the Trustee will treat the claim as allowed, subject to objection by the Debtor.

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above
Levels are not filled-in, then the order of distribution of plan payments will be determined by the
Trustee using the following as a guide:

Level 1: Adequate protection payments.
Level 2: Debtor’s attorney’s fees.
Level 3: Domestic Support Obligations.
Level 4: Priority claims, pro rata.
Level 5: Secured claims, pro rata.
Level 6: Specially classified unsecured claims.
Level 7: Timely filed general unsecured claims.
Level 8: Untimely filed general unsecured claims to which the Debtor has not objected.

9.     NONSTANDARD PLAN PROVISIONS
Include the additional provisions below or on an attachment. Any nonstandard provision
placed elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as
one document, not as a plan and exhibit.)


Dated: 4/30/2018                                        /s/ Patrick J. Best, Esq._________________
                                                        Attorney for Debtor

                                                        /s/ Lisa A Arana
                                                        Debtor




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By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor
also certifies that this plan contains no nonstandard provisions other than those set out in § 9.




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